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                                          Exhibit B13
                                  Trident Equities, LLC Series

Property                       Record Owner                         Beneficiary/Member

2634 E. 74th Place             74th Place #2634 Land Trust          Trident Equities, LLC
                                                                    2634 E. 74th Place Series

8330 S. Anthony                S. Anthony #8330 Land Trust          Trident Equities, LLC
                                                                    8330 S. Anthony Series

8103 S. Burnham                Trident Equities, LLC                Trident Equities, LLC
                               8103 S. Burnham Series               Burham Series

8726 S. Crandon                Trident Equities, LLC                Trident Equities, LLC
                               8726 S. Crandon Series               Crandon Series

8008 S. Manistee               Capital B. Holdings Corp.            Trident Equities, LLC
                               as trustee of S. Manistee #8008      8008 S. Manistee Series
                               Land Trust

8011 S. Manistee               S. Manistee #8011 Land Trust         Trident Equities, LLC
                                                                    8011 S. Manistee Series

8103 S. Muskegon               S. Muskegon #8103 Land Trust         Trident Equities, LLC
                                                                    8103 S. Muskegon Series

8101 S. Muskegon               S. Muskegon #8101 Land Trust         Trident Equities, LLC
                                                                    8101 S. Muskegon Series

All of the above properties have been sold by short sale with the consent of the mortgagee, First
Midwest Bank.

126 W. 110th Place             Trident Equities, LLC                Trident Equities, LLC
                               126 W. 110th Place Series            126 W. 110th Place Series
                                                                    Jon J. Bowers, Robert M.
                                                                    Baron & Debtor

12334 S. Lowe                  Trident Equities, LLC                Trident Equities, LLC
                               12334 S. Lowe Series                 12334 S. Lowe Series
                                                                    Jon J. Bowers, Robert M.
                                                                    Baron & Debtor

See additional properties listed on Statement of Financial Affairs, Question No. 6.

HB4436
